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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division



 Intersections Inc. and Net Enforcers, Inc.,

                     Plaintiffs,                       Civil Action No. 1:09CV597 (LMB/TCB)
                v.

 Joseph C. Loomis and Jenni M. Loomis,

                     Defendants.


                RESPONSE TO MOTION FOR LEAVE TO FILE EXHIBITS
                   UNDER SEAL AND TO REDACT MEMORANDUM

        Plaintiffs Intersections, Inc. (“Intersections”) and Net Enforcers, Inc. (“NEI” and, with

 Intersections, “Plaintiffs”) submit this Response to Motion for Leave to File Exhibits Under Seal

 and to Redact Memorandum filed by Defendant Joseph C. Loomis (“Loomis”). Plaintiffs have

 no objection to the sealing of Exhibits Q and R to Loomis’ Memorandum in Opposition to

 Plaintiffs’ Motion for Sanctions (the “Memorandum”) and the redacting of any quotations of

 those documents in the Memorandum.

 Dated: March 1, 2011                          Respectfully submitted,

                                               By:       /s/
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                                      CERTIFICATE OF SERVICE

         I hereby certify that on the 1st day of March, 2011, I caused the foregoing Response to

 Motion for Leave to File Exhibits Under Seal and to Redact Memorandum to be electronically

 filed with the Clerk of the Court using the CMF/ECF system, which will then send a notification

 of such filing (NEF) to the following:

                   Timothy J. McEvoy
                   Cameron McEvoy, PLLC
                   11325 Random Hills Road
                   Suite 200
                   Fairfax, VA 22030
                   E-mail: tmcevoy@cameronmcevoy.com

                   Counsel for Defendant Joseph C. Loomis

         I further certify that I caused the foregoing Response to Motion for Leave to File Exhibits

 Under Seal and to Redact Memorandum to be served via overnight mail to the following:

                   Jenni M. Loomis
                   212 Esquire Lane
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                   Pro Se



                                                           /s/
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